       Case 4:24-cv-04722-YGR            Document 77-2     Filed 12/30/24    Page 1 of 2




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8
                                 UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                             OAKLAND DIVISION
11
                                                         Case No. 4:24-CV-04722-YGR
12   ELON MUSK, et al.,
                                                         Honorable Yvonne Gonzalez Rogers
13                                  Plaintiffs,
                                                     DECLARATION OF LEE BRAND IN
14          v.                                       SUPPORT OF BRIEF OF AMICUS CURIAE
                                                     KATHLEEN JENNINGS IN HER
15   SAMUEL ALTMAN, et al.                           CAPACITY AS THE ATTORNEY
                                                     GENERAL FOR THE STATE OF
16                                  Defendants.      DELAWARE REGARDING
                                                     PLAINTIFFS’ MOTION FOR A
17                                                   PRELIMINARY INJUNCTION
18                                                   Date:      January 14, 2025
19                                                   Time:      2:00 p.m.
                                                     Place:     Courtroom 1, 19th Floor
20                                                              1301 Clay St.
                                                                Oakland, CA 94612
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                 BRAND DECLARATION ISO AMICUS CURIAE BRIEF - CASE NO: 4:24-CV-04722-YGR
       Case 4:24-cv-04722-YGR           Document 77-2          Filed 12/30/24   Page 2 of 2




1           I, LEE BRAND, hereby declare as follows:

2           1.       I am an active member of the California State Bar and this Court and a Partner

3    at the law firm of Pillsbury Winthrop Shaw Pittman LLP, counsel of record for Amicus

4    Curiae, Kathleen Jennings, the Attorney General of the State of Delaware, in the above-

5    captioned action. The facts set forth herein are known to me personally and, if called as a

6    witness, I could and would testify competently thereto.

7           2.       Attached hereto as Exhibit A is a true and correct copy of OpenAI, Inc’s

8    blogpost, “Why OpenAI’s Structure Must Evolve To Advance Our Mission,” dated
9    December 27, 2024, available at https://openai.com/index/why-our-structure-must-evolve-to-
10   advance-our-mission/.
11          3.       Attached hereto as Exhibit B is a true and correct copy of OpenAI, Inc.’s
12   Certificate of Incorporation dated December 8, 2015.
13          4.       Attached hereto as Exhibit C is a true and correct copy of OpenAI, Inc.’s
14   Amended and Restated Certificate of Incorporation dated April 23, 2020.
15          I declare under penalty of perjury that the foregoing is true and correct. Executed this
16   30th day of December, 2024, at San Francisco, California.
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                                                  /s/ Lee Brand
18                                                                 Lee Brand
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                 BRAND DECLARATION ISO AMICUS CURIAE BRIEF - CASE NO: 4:24-CV-04722-YGR
